




 











&nbsp;

IN THE

TENTH COURT OF APPEALS




 
  
 
 
  
  
 


&nbsp;



No. 10-09-00344-CR

No. 10-09-00345-CR

No. 10-09-00346-CR

No. 10-09-00347-CR

&nbsp;

Ex parte
Carlton L. Williams III

&nbsp;

&nbsp;



From the 52nd District Court

Coryell County, Texas

Trial Court Nos. FR-09-19950, FR-09-19951,

FR-09-19952 and FR-09-19953

&nbsp;



MEMORANDUM&nbsp; Opinion



&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Carlton L. Williams, III was indicted
in separate indictments for four aggravated robberies.&nbsp; Tex. Pen. Code Ann. §29.03 (Vernon 2003).&nbsp; His bail was
originally set at $100,000 per indictment, but was reduced at a pre-trial writ
of habeas corpus hearing at which time his bail was set at $ 50,000 per
indictment, for a total of $200,000. Williams filed a second application for a
pretrial writ of habeas corpus seeking another reduction in his bail, which was
denied.&nbsp; Because the trial court did not abuse its discretion, the trial
court's order denying Williams's application for writ of habeas corpus is
affirmed.

&nbsp;

Applicable Law

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Generally, a writ applicant has the
burden of proving the facts which would entitle the applicant to relief.&nbsp; Ex
parte Kimes, 872 S.W.2d 700, 703 (Tex. Crim. App. 1993).&nbsp; The same holds
true for an applicant in a bail reduction proceeding.&nbsp; See Ex parte
Charlesworth, 600 S.W.2d 316, 317 (Tex. Crim. App. 1980); Ex parte Plumb,
595 S.W.2d 544, 546 (Tex. Crim. App. 1980).&nbsp; We review a trial court's decision
in a bail reduction proceeding for an abuse of discretion.&nbsp; Holliman v.
State, 485 S.W.2d 912, 914 (Tex. Crim. App. 1972).

In determining whether the trial court abused its
discretion, we are guided by Article 17.15 as to the rules for fixing bail.&nbsp; See
Tex. Code Crim. Proc. Ann.
art. 17.15 (Vernon 2005).&nbsp; See also Ex parte Pemberton, 577
S.W.2d 266, 267 (Tex. Crim. App. 1979).&nbsp; The nature of the
offense and the circumstances under which it was committed are to be considered
and this necessarily involves the punishment permitted by law.&nbsp; Holliman,
485 S.W.2d at 914.&nbsp; Also, the applicant's indigency is a circumstance to be
considered, but it is neither a controlling circumstance nor the sole criterion
in determining the amount of bail.&nbsp; Ex parte Vasquez, 558 S.W.2d 477,
480 (Tex. Crim. App. 1977).&nbsp; Other factors to be considered in determining the
amount of bail, as interpreted previously by this Court, include family and
community ties, work history, length of residence in the county, prior criminal
record, conformity with conditions of prior bail, and any aggravating
circumstances of the offense.&nbsp; Ex parte Davis, 147 S.W.3d 546, 548 (Tex.
App.—Waco 2004, no pet.); see Ex parte Rubac, 611 S.W.2d 848 (Tex. Crim.
App. 1981).

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams did not testify at the
hearing before the trial court.&nbsp; His mother testified that Williams was
seventeen years old; that she was willing to loan him $10,000 to post bail; and
that Williams would live in her home in Copperas Cove, Coryell County, Texas until the cases were resolved.&nbsp; She would ensure that Williams appeared at any court
dates.&nbsp; A bond agent testified that her company was willing to write bonds for
$25,000 per indictment for a $10,000 payment to her company and that based on
her conversations with the family, she did not feel that Williams posed a
flight risk, although she had never met Williams personally.&nbsp; A copy of each of
the four indictments with the probable cause affidavits were admitted into
evidence which showed that each indictment arose out of one criminal episode,
but with four victims.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The trial court took judicial notice
of the testimony from the first writ hearing from a detective with the Copperas Cove police department.&nbsp; The officer testified that six or seven males wearing
red bandanas approached a front porch of a residence.&nbsp; One of the males hit an
individual standing on the porch with a firearm and they then forced their way
inside the residence.&nbsp; Another individual in the residence was hit over the
head with a firearm as well.&nbsp; The residents of the home were forced to strip,
and items were stolen from them and the residence.&nbsp; The individual that
witnessed the first assault called 911 and while he was retrieving the license
plate number from the getaway vehicle, shots were fired at him from a passenger
in the vehicle as it left the scene.&nbsp; The vehicle was driven by Williams and
was titled in his mother’s name.&nbsp; Later, the victims identified Williams by
name as one of the perpetrators.&nbsp; Williams held an aluminum baseball bat, which
he abandoned at the residence where the robberies took place.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; None of the other males involved in
the aggravated robberies had been arrested at the time of the first writ
hearing and no firearm had been recovered.&nbsp; Williams refused to tell police the
identities of the others who committed the offense with him, although he had
told his mother their names.&nbsp; The detective testified that she was concerned
for the safety of Williams if released as well as the potential for Williams to
commit other violent offenses with the other perpetrators.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Williams had been charged with an
aggravated assault with a deadly weapon and other drug offenses as a juvenile.&nbsp;
There is no testimony in the record before us of Williams’s ties to the community,
the length of time he had been in the community, or any work or school
history.&nbsp; The trial court entered findings of fact and conclusions of law at
Williams’s request.&nbsp; The trial court based its decision to deny the second writ
on the seriousness of the offense, the use of weapons to commit the offense,
and the welfare of the community.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Considering all of the factors, the
burden of proof, and the record before us, we cannot say that the trial court
abused its discretion by denying Williams’s second writ of habeas corpus.&nbsp;
Accordingly, Williams’s sole issue is overruled.

Conclusion

Having concluded that the trial court did not
abuse its discretion, we affirm the judgment of the trial court.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TOM
GRAY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

&nbsp;

&nbsp;

Before
Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Davis

Affirmed

Opinion
delivered and filed March 3, 2010

Do
not publish

[CV06]






 adamant he did not promise Anselmo
that he would receive shock probation.&nbsp; Counsel testified that he told him the
best case scenario would be shock probation but he also told Anselmo that he
could receive 99 years to life in prison.&nbsp; At the plea hearing, the trial court
admonished Anselmo of the range of punishment for each offense and confirmed
that Anselmo understood the charges against him, the punishment range, and his
rights.&nbsp; The court also confirmed that Anselmo was pleading guilty because he
was guilty and for no other reason.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Based on the record we do not find
Anselmo’s pleas to be involuntary due to misinformation by his trial counsel.&nbsp;
Anselmo’s assertion of misinformation, standing alone, does not establish that
his plea was involuntary.&nbsp; And there is nothing in the record that
substantiates his assertion.&nbsp; Because we do not find his plea to be involuntary
due to misinformation by his trial counsel, Anselmo has not sustained his
burden to establish even the first prong of his ineffective assistance claim on
the same assertion.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Anselmo’s second and third issues are
overruled.

Translation of Plea
Hearing

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; In his last issue, Anselmo contends
his plea was involuntary because there were errors in the translation of the
plea paperwork and the courtroom proceedings.&nbsp; In assessing the voluntariness
of a plea, we review the record as a whole and consider the totality of the
circumstances.&nbsp; Martinez v. State, 981 S.W.2d 195, 197 (Tex.
Crim. App. 1998).&nbsp; An admonishment on punishment is prima facie evidence that a
plea was knowing and voluntary.&nbsp; Martinez, 981 S.W.2d at 197.&nbsp; The
burden then shifts to the defendant to show that the plea was entered without
understanding the consequences thereof.&nbsp; Id.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The plea proceedings were interpreted
for Anselmo through a licensed interpreter.&nbsp; The trial court admonished Anselmo
of the range of punishment for each offense, and Anselmo stated that he
understood.&nbsp; Anselmo, as well as the interpreter, signed the written pleas,
waivers, stipulations, and judicial confessions.&nbsp; But on motion for new trial, Anselmo
stated that the plea proceedings were translated very quickly, and he knew
enough English to know that the proceedings were not being translated word for
word.&nbsp; He claimed that because the translation was inadequate, he did not
understand the proceedings fully.&nbsp; In response, the State introduced an
affidavit from the interpreter who stated “I fully translated everything that
was said in court in a true and correct manner.&nbsp; Moreover, I repeatedly asked
Mr. Anselmo, during the hearing, if I was going too fast or if there was
something he did not understand.&nbsp; At no time during the hearing did Mr. Anselmo
ever state that he could not understand my translation.”&nbsp; Further, Anselmo’s
trial counsel testified at the hearing on the motion for new trial that he had
met with Anselmo and talked with him on the phone without the need for an
interpreter because “Benizi speaks very good English.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; There is nothing in the record from
Anselmo’s guilty pleas to indicate that he did not understand the admonitions
or the proceedings.&nbsp; Based on a review of the record, Anselmo did not meet his
burden to show that he did not understand the consequences of his pleas.&nbsp; His
fourth issue is overruled.

Conclusion

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Having overruled each issue, we affirm
the judgments of the trial court.

&nbsp;

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; TOM
GRAY

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Chief
Justice

&nbsp;

Before
Chief Justice Gray,

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Vance, and

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice
Reyna

Affirmed

Opinion
delivered and filed October 24, 2007

Do
not publish

[CRPM]









[1] Solem
v. Helm, 463 U.S. 277, 292, 103 S. Ct. 3001, 3011, 77 L. Ed. 2d 637 (1983).





[2] See
Oliver v. State, No. 10-06-00152-CR, 2007 Tex. App. LEXIS 6495 (Tex. App.—Waco Aug. 15, 2007, no pet. h.) (mem. op.); Nobles v. State, No.
10-06-00153-CR, 2007 Tex. App. LEXIS 6101 (Tex. App.—Waco Aug. 1, 2007, no pet.
h.) (mem. op.).







